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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                       CR NO. 23-CR-005 (APM)
ERIC CHRISTIE,


   Defendant.


                               NOTICE OF APPEARANCE

        NOW COMES the United States of America, through undersigned counsel, and gives

notice that Raymond K. Woo, Assistant U.S. Attorney, hereby enters his appearance on behalf of

the United States.

                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                UNITED STATES ATTORNEY
                                                D.C. Bar No. 481052



Date: March 21, 2023                         By: __/s/ Raymond K. Woo__________
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                                 CERTIFICATE OF SERVICE

        On this 21st day of March, a copy of the foregoing was served on counsel of record for
the defendant via the Court’s Electronic Filing System.



Date: March 21, 2023                          By: __/s/ Raymond K. Woo_________
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